Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.456 Filed 04/08/21 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, BRAD LAFUZE, and                )
 MARTELL GRESHAM, on behalf of                )
 themselves and all others similarly situated,)
                                              )
                             Plaintiffs,      ) Case No. 20-cv-10670
                                              )
 vs.                                          )
                                              ) Hon. George C. Steeh
 WELLPATH LLC, by and through its Chief )
 Clinical Officer and designees, the          ) Mag. Judge Patricia T. Morris
 Responsible Health Authority/Health Services )
 Administrator, and/or its respective Site    )
 Medical Directors.                           )
                                              )
                             Defendant.       )



     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
      DISMISS PLAINTIFFS’ COUNT V PURSUANT TO FED. R. CIV. P. 12(H)(3)
       NOW COME Plaintiffs Cheryl Hall, Brad Lafuze, and Martell Gresham (hereinafter

referred to collectively as “Plaintiffs”), by and through their attorneys, Liddle & Dubin, P.C., in

opposition to Defendant Wellpath LLC’s Motion to Dismiss Plaintiffs’ First Amended Complaint,

this time pursuant to Fed. R. Civ. P. 12(H)(3). This is Defendant’s second, successive motion to

dismiss Plaintiffs’ Count V because Plaintiffs did not comply with the Michigan procedural

requirements of providing notice of intent to sue and an affidavit of merit pursuant to MCL §

600.2912b. In opposition to this successive motion, Plaintiffs state as follows:

       1.      Plaintiffs admit that Plaintiffs Cheryl Hall and Brad Lafuze filed their original

complaint on March 12, 2020.




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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.457 Filed 04/08/21 Page 2 of 12




        2.      Plaintiffs admit that the First Amended Complaint, which is the subject of

Defendant’s second motion, was filed on May 4, 2020 and added Martell Gresham as a proposed

class representative plaintiff.

        3.      Plaintiffs dispute Defendant’s incomplete characterization of their claims. Plaintiffs

raise the following five claims: (1) violations of U.S. Const. Fourteenth Amendment, substantive

due process clause for deliberate indifference to known serious medical needs; (2) violations of

U.S. Const. Eighth Amendment for cruel and unusual punishment arising from deliberate

indifference to known serious medical needs; (3) violations of U.S. Const. Fourteenth Amendment

substantive due process clause arising from state created danger; (4) violation of U.S. Const.

Fourteenth Amendment procedural due process clause; and (5) common law negligence and gross

negligence. These claims arise from the systemic and unreasonable interruption, discontinuation,

denial, and/or delay of previously prescribed psychotropic medications by Defendant, a private,

for-profit administrator of prescription medication services and utilization management services

to approximately 25 county jails throughout the State of Michigan. Plaintiffs’ constitutional claims

allege unconstitutional policies, practices, and customs by Defendant Wellpath relating to

discontinuity of psychotropic medication care to inmates in county jails throughout Michigan,

which has caused injuries to Plaintiffs and the putative class.

        4.      Admitted.

        5.      Plaintiffs admit that Defendant previously filed a Motion to Dismiss pursuant to

Fed. R. Civ. P. 12(b)(6). [ECF No. 10]. Defendant’s prior motion sought dismissal of Counts I, II,

and V of Plaintiffs’ First Amended Complaint and included a request to “dismiss” Plaintiffs’

claims for injunctive relief. Importantly for the purposes of this motion, Defendant clearly argued

that Plaintiffs’ Negligence/Gross Negligence Claim (Count V) should have been dismissed



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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.458 Filed 04/08/21 Page 3 of 12




because Plaintiffs failed “to give notice of their intent to sue and to file an Affidavit of Merit to

support their Complaint or First Amended Complaint.” [ECF No. 10, Pg.ID.143] (citing MCL §

600.2912b and 500.2912d). Through Defendant’s first motion, Wellpath repeatedly referred to

Michigan’s notice of intent to sue and the affidavit of merit provisions as “procedural

requirements”. [ECF No. 10, Pg.ID.143] (citing Dorris v. Detroit Osteopathic Hosp. Corp., 460

Mich. 26, 43, 594 N.W.2d 455 (1999)).

       6.      Plaintiffs admit that they responded in opposition to Defendant’s (first) Motion to

Dismiss and argued that their claims did not fall under Michigan’s medical malpractice statute.

Importantly, the Court held otherwise. [ECF No. 23, Pg.ID.329-331]. That is because “[w]hether

determinations [to deny or withhold prescription medications] were made in a sweeping manner

or by individualized medical staff, the propriety of continuing or denying prescription medications

lies beyond the ken of the jury.” [ECF No. 18, Pg.Id.262].

       7.      Plaintiffs admit that the Magistrate Judge recommended granting in part and

denying in part Defendant’s first Motion to Dismiss. However, critically, Defendant omits that the

Magistrate Judge held that Michigan’s medical malpractice pre-suit requirements, including “the

state law notice and affidavit of merit requirements” [ECF No. 18, Pg.ID.267], are “procedural

rather than substantive.” [Id., Pg.ID.269]. Accordingly, “any failure to abide by these [procedural]

requirements does not provide grounds for dismissal in this federal court.” [Id., Pg.ID.270].

       8.      Plaintiffs admit that this Court adopted the Magistrate Judge’s conclusions with

respect to Plaintiffs’ Count V for negligence and gross negligence, including the Magistrate

Judge’s Erie analysis, which concluded that Michigan’s procedural requirements are not

applicable in this federal court.




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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.459 Filed 04/08/21 Page 4 of 12




        9.     Denied. Plaintiffs argued that their claims did not sound in medical malpractice.

However, this Court disagreed.

        10.    Admitted. However, Defendant again omits that this Court adopted the Magistrate

Judge’s Erie analysis, which held that that “any failure to abide by [Michigan’s procedural]

requirements does not provide grounds for dismissal in this federal court.” [Id., Pg.ID.270]. This

Court held that “the Magistrate Judge correctly concluded that the affidavit of merit required by

state law is procedural and is not required for medical malpractice claims sounding in negligence

or gross negligence brought before this Court under diversity jurisdiction.” [ECF No. 23,

Pg.ID.331]. This Court also denied Defendant’s Motion for Reconsideration of the Erie analysis,

stating that Defendant failed to make “timely objections to the report and recommendation” and

that the issue was already decided, and not appropriately raised in Defendant’s initial objections.

[ECF No. 27, Pg.ID. 423]. These holdings that Plaintiffs are not required to comply with Michigan

procedural requirements in this diversity case are the law of the case.

        11.    Admitted. However, these state law procedural requirements are not applicable

here.

        12.    Admitted.

        13.    Plaintiffs recognize the well-established Erie principles cited by Defendant.

However, this Court held that Michigan’s pre-suit medical malpractice requirements are

procedural, not substantive, and therefore do not apply in this diversity case.

        14.    Plaintiffs deny, as this Court held, that Michigan’s procedural requirements in

medical malpractice actions apply in this diversity case. Defendant fails to argue that Plaintiffs

failed to properly allege diversity jurisdiction. Defendant also fails to produce evidence to support




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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.460 Filed 04/08/21 Page 5 of 12




an argument that the parties are in fact not diverse. Instead, Defendant attempts to bootstrap its

prior, rejected Erie arguments into a misplaced jurisdictional argument.

        15.    Admitted.

        WHEREFORE, Plaintiffs respectfully request that this Honorable Court DENY

Defendant’s Motion to Dismiss Plaintiffs’ Count V Pursuant to Fed. R. Civ. P. 12(H)(3) in its

entirety.

Dated: April 8, 2021                                Respectfully submitted,


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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.461 Filed 04/08/21 Page 6 of 12




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, BRAD LAFUZE, and                )
 MARTELL GRESHAM, on behalf of                )
 themselves and all others similarly situated,)
                                              )
                             Plaintiffs,      ) Case No. 20-cv-10670
                                              )
 vs.                                          )
                                              ) Hon. George C. Steeh
 WELLPATH LLC, by and through its Chief )
 Clinical Officer and designees, the          ) Mag. Judge Patricia T. Morris
 Responsible Health Authority/Health Services )
 Administrator, and/or its respective Site    )
 Medical Directors.                           )
                                              )
                             Defendant.       )



  PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
        PLAINTIFFS’ COUNT V PURSUANT TO FED. R. CIV. P. 12(H)(3)
                                         INTRODUCTION
        Defendant raises this second motion to dismiss based on lack of subject-matter jurisdiction;

yet it fails to present any challenge to the jurisdictional basis for Plaintiffs’ claims. Defendant fails

to produce any evidence to contradict that all Plaintiffs are citizens of the State of Michigan and

Defendant is a foreign corporation, incorporated in Delaware with its principal place of business

in Tennessee. [ECF No. 8, Pg.ID.65, ¶17-20]. Defendant also fails to argue that this Court lacks

supplemental jurisdiction over Plaintiffs’ claims. [See ECF No. 8, Pg.ID.66, ¶23].

        Instead, Defendant seeks to repackage an argument that was already fully briefed and

squarely rejected—that Michigan’s pre-suit medical malpractice requirements are substantive

rather than procedural and must be applied by this federal court sitting in diversity jurisdiction.

Defendant’s entire argument is, practically and substantively, a complete regurgitation of the


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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.462 Filed 04/08/21 Page 7 of 12




arguments it already presented. Accordingly, Defendant’s second motion to dismiss should be

denied.

                                     STANDARD OF REVIEW
          A “motion for lack of subject matter jurisdiction can challenge the sufficiency of the

pleading itself (facial attack) or the factual existence of subject matter jurisdiction (factual attack).”

Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir. 2014) (citing United States v. Ritchie, 15 F.3d

592, 598 (6th Cir. 1994)). “A facial attack goes to the question of whether the plaintiff has alleged

a basis for subject matter jurisdiction, and the court takes the allegations of the complaint as true

for purposes of Rule 12(b)(1) analysis.” Id. “A factual attack challenges the factual existence of

subject matter jurisdiction. In the case of a factual attack, a court has broad discretion with respect

to what evidence to consider in deciding whether subject matter jurisdiction exists, including

evidence outside of the pleadings, and has the power to weigh the evidence and determine the

effect of that evidence on the court’s authority to hear the case.” Id.

          Defendant does not state whether it has raised a facial attack or a factual attack on the

subject-matter jurisdiction of Plaintiffs’ negligence claim. Nor is it clear based on Defendant’s

argument which brand of challenge it attempts to present. Because Defendant has failed to attach

a single exhibit in support of its motion, Plaintiffs will treat Defendant’s motion as a facial

challenge. 1

                                            ARGUMENT
    I.    Plaintiffs Adequately Pled Both Diversity Jurisdiction and Supplemental
          Jurisdiction, which Defendant Has Failed to Even Attempt to Dispute or Contradict.




1
  To the extent the Court may wish to treat this as a factual challenge, Defendant has failed to
produce any evidence contradicting Plaintiffs’ well-pled allegations, which establish both diversity
jurisdiction and a basis for this Court to exercise supplemental jurisdiction.
                                                    2
Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.463 Filed 04/08/21 Page 8 of 12




       28 U.S.C. § 1332(a) states that “[t]he district courts shall have original jurisdiction of all

civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between … Citizens of different States[.]” “[T]he plaintiff has the burden

of pleading the existence of the court’s jurisdiction, and, in a diversity action, the plaintiff must

state all parties’ citizenships such that the existence of complete diversity can be confirmed.”

Plumbers & Pipefitters Local 572 Pension Fund v. Cook, 2004 U.S. Dist. LEXIS 30530, *15-16,

2004 WL 5349589 (S.D. Oh. September 22, 2004) (quoting Chemical Leaman Tank Lines, Inc. v.

Aetna Casualty and Surety Co., 177 F.3d 210, 222 n. 13 (3rd Cir. 1999)).

       It is undisputed that Plaintiffs have properly alleged that each Plaintiff is a citizen of the

State of Michigan and Defendant is a foreign corporation, incorporated in Delaware with its

principal place of business in Tennessee. [ECF No. 8, Pg.ID.65, ¶17-20]. It is also undisputed that

Plaintiffs properly pled that the amount in controversy exceeds the jurisdictional threshold amount

of $75,000. [ECF No. 8, Pg.ID.66, ¶24]. Accordingly, diversity jurisdiction was adequately pled,

and this Court has subject-matter jurisdiction over Plaintiffs’ claims.

       Separately, and in addition, Plaintiffs adequately alleged supplemental jurisdiction

pursuant to 28 U.S.C. § 1367 because Plaintiffs’ state law negligence claim in Count V is “so

related to the claims over which this Court has original jurisdiction that they form part of the same

case or controversy, and the state law claims do not substantially predominate the federal claims.”

[ECF No. 8, Pg.ID.66, ¶23]. Defendant has failed to make any argument that Plaintiffs’ basis for

asserting supplementary jurisdiction is inadequate or improper. Accordingly, this Court also has

supplementary jurisdiction over Plaintiffs’ single common law state law claim of negligence.

       For these reasons, this Court undisputedly has subject matter jurisdiction over Plaintiffs’

state law claim for negligence. Defendant’s motion to dismiss should be denied.



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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.464 Filed 04/08/21 Page 9 of 12




    II.   Defendant’s Request to Relitigate this Court’s Prior Erie Analysis Determining that
          Michigan State Procedural Requirements Do Not Apply Here Should Be Denied
          under Law of the Case Principles.

          Under the law of the case doctrine, “findings made at one stage in the litigation should not

be reconsidered at subsequent stages of that same litigation.” Burley v. Gagacki, 834 F.3d 606,

618 (6th Cir. 2016) (internal citations omitted). Through this motion, Defendant argues that

“[m]edical malpractice pre-suit notice requirements are substantive law to be applied in federal

diversity cases.” [ECF No. 28, Pg.ID.441]. However, this Court has already decided this issue,

after rendering a complete analysis of Erie principles, and it may not be relitigated through a

repackaged motion based on jurisdiction.

          The Magistrate Judge held that Michigan’s medical malpractice pre-suit requirements,

including “the state law notice and affidavit of merit requirements” [ECF No. 18, Pg.ID.267], are

“procedural rather than substantive.” [Id., Pg.ID.269]. Accordingly, “any failure [by Plaintiffs] to

abide by these [procedural] requirements does not provide grounds for dismissal in this federal

court.” [Id., Pg.ID.270]. Subsequently, this Court held that “the Magistrate Judge correctly

concluded that the affidavit of merit required by state law is procedural and is not required for

medical malpractice claims sounding in negligence or gross negligence brought before this

Court under diversity jurisdiction.” [ECF No. 23, Pg.ID.331] (emphasis added). This Court also

denied Defendant’s Motion for Reconsideration of the Erie analysis, 2 stating that Defendant failed

to make “timely objections to the report and recommendation” and that the issue was already

decided, and not appropriately raised in Defendant’s initial objections. [ECF No. 27, Pg.ID. 423].



2
  Through its motion for reconsideration, Defendant argued that Michigan’s notice requirements
were not addressed by the Magistrate Judge. However, based on the plain language of the
Magistrate Judge’s Report and Recommendation, the notice provision was considered. Defendant
also failed to properly object to that portion of the Magistrate Judge’s opinion, and the argument
was not properly preserved for review by this Court or for appeal.
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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.465 Filed 04/08/21 Page 10 of 12




 The holding that Michigan’s pre-suit medical malpractice requirements are procedural, not

 substantive, is the law of the case. 3 Accordingly, Defendant should be estopped from re-raising

 this issue, which has already been briefed and squarely decided by the Court.

        Defendant fails to cite a single case in which a federal court has dismissed a state law claim

 for lack of subject-matter jurisdiction based on a failure to comply with pre-suit medical

 malpractice procedures established by state law. In fact, the argument section of Defendant’s brief

 fails to even mention jurisdiction. Instead, Defendant’s entire argument is nothing more than a

 second bite at the apple, providing only a rehashed version of its prior Erie argument that this

 Court already rejected. Accordingly, this Court should hold that Defendant’s request to bootstrap

 a second, successive argument that Michigan’s procedural rules are substantive into the

 jurisdictional context is precluded by law of the case principles.

                                          CONCLUSION
        For the foregoing reasons, Plaintiffs respectfully request that this Honorable Court DENY

 Defendant’s second, successive Motion to Dismiss in its entirety.

 Dated: April 8, 2021                                  Respectfully submitted,


                                                       LIDDLE & DUBIN, P.C.
                                                       by: /s/ Matthew Z. Robb
                                                       Steven D. Liddle (P45110)

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   This holding is also consistent with this Court’s treatment of other, similar claims. See Long v.
 Adams, 411 F.Supp.2d 701, 709 (E.D.Mich. 2006) (stating that “Michigan’s heightened pleading
 requirements for medical malpractice cases do not apply to cases filed in federal court invoking
 the Court’s diversity jurisdiction”). In Long, Judge Lawson correctly reasoned as follows:

        As is clear from Rule 8(a)’s language, there is no requirement that any affidavit of
        merit must be filed to commence a medical malpractice case in federal court. The
        plaintiff’s complaint in this case complies with Rule 8(a), and he need do no more
        to commence his action in this Court. The presence or absence of an affidavit does
        not render the complaint defective or subject it to dismissal.

 Id. at 707. That is because “the state’s procedural rules have no application here.” Id. at 705.
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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.466 Filed 04/08/21 Page 11 of 12




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Case 2:20-cv-10670-GCS-PTM ECF No. 32, PageID.467 Filed 04/08/21 Page 12 of 12




                                      PROOF OF SERVICE
 I hereby certify that on April 8, 2021 I presented the foregoing paper to the Clerk of the Court for
 filing and uploading to the ECF system, which will send notification of such filing to the attorneys
 of record listed herein and I hereby certify that I have mailed by US Postal Service the document
 to the involved non-participants.


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